Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction

UNITED STATES DISTRICT COURT

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for the IDE Ke yf W ie D)

District of Alaska . aaa!

Anchorage Division

ROCKY JAY BURNS
DISCREET DELIVERIES
DISCREET BELIEFS CHURCH
PEOPLE OF ALASKA

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of ail the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-y-

ALASKA OFFICE OF ATTORNEY GENERAL
ATTORNEY GENERAL JAHNA LINDEMUTH
CURRENT ATTORNEY GENERAL OF ALASKA
STATE OF ALASKA
Defendant(s)
(Write the full name of each defendant who is being sued. [f the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list af names.)

DEC 1 0 2018

CLERK, U,S, DISTRICT
COURT

Case No. ‘2 . (CC Y- 60 146. SCH

(to be filled in by the Clerk's Office)

COMPLAINT AND REQUEST FOR INJUNCTION

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

ROCKY BURNS
5453 W SNUG HARBOR AVE

WASILLA MATANUSKA-SUSITNA BOROUGH
ALASKA 99623 |

(907) 315-6203
DISCREETDELIVERIESALASKA@GMAIL.COM

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (j/known). Attach additional pages if needed.

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Defendant No. 1

Name JAHNA LINDEMUTH | Lae _- --
Job or Title (if known) ALASKA ATTORNEY GENERAL _ Be _ ae
Street Address 1031 WEST 4THAVE, SUITE 200 _ .
City and County ANCHORAGE | co

State and Zip Code ALASKA 99501 - - _. _
Telephone Number (907)269-5100_

E-mail Address (ifknown) = ATTORNEY. GENERAL@ALASKA.C GOV _

Defendant No. 2

Name OFFICE OF ATTORNEY GENERAL - ALASKA

Job or Title (if known) DEPARTMENT OFLAW -
Street Address 1031 WEST 4TH AVE, SUITE 2000 ee -
City and County ANCHORAGE © - — _

State and Zip Code ALASKA 99501 — oe

Telephone Number (907)269-5100 -

E-mail Address (if known) ATTORNEY. GENERAL@ALASKA. GOV -

Defendant No. 3
Name
Job or Title df known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

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I.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check alf that apply)
[V ]Federal question LI Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that

are at issue in this case.
18 U.S.C. 2510(5), 18 U.S.C. 2515, UNITED STATES CONSTITUTIONAL

AMENDMENTS 4TH, 5TH, 6TH AND 14TH, TITLE Ill OF THE OMNIBUS CRIME CONTROL AND SAFE STREETS
ACT OF 1968, AND THE ELECTRONIC COMMUNICATION PRIVACY ACT OF 1986.

B. If the Basis for Jurisdiction Is Diversity of Citizenship

I. The Plaintiff(s)
a. If the plaintiff is an individual
The plaintiff, (name) . , is a citizen of the
State of (name)
b. If the plaintiff is a corporation
The plaintiff, (name) . , is incorporated

under the laws of the State of (name) .

and has its principal place of business in the State of (name)

(if more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)
a. If the defendant is an individual
The defendant, (name) , is acitizen of
the State of (name) . Or is a citizen of

(foreign nation)

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TIL.

b. If the defendant is a corporation
The defendant, (ame) ot s is incorporated under
the laws of the State of (name) - oe and has its

principal place of business in the State of (name)
Or is incorporated under the laws of (foreign nation)

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):
IRREPARABLE HARM OF LIFE LIBERTY AND PURSUIT OF HAPPINESS. THE STATE OF ALASKA HAS
ALREADY DEPRIVED THE PLAINTIFF OF OVER $75,000 OF PROPERTY AND MONEY, AND IS ALSO
SEEKING TO INCARCERATE THE PLAINTIFF FOR YEARS OF TIME. THE CURRENT COURT CASE IS
OVER 36 MONTHS OLD, AND ITSELF IS PLACING IRREPARABLE HARM TO EMPLOYMENT AND
BUSINESS OPPORTUNITIES OF THIS DEFENDANT.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
was involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights,
including the dates and places of that involvement or conduct. If more than one claim is asserted, number each

claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
needed.

A. Where did the events giving rise to your claim(s) occur?

THE STATE OF ALASKA HAS USED ILLEGAL WIRETAPPING ON THE PLAINTIFF AND THE PUBLIC. THE
STATE OF ALASKA HAS NOT FOLLOWED FEDERAL STATUTES WHILE WIRETAPPING, INTERCEPTING
ELECTRONIC COMMUNICATIONS, AND COLLECTING DATA FROM ELECTRONIC STORAGE DEVICES. THIS

ALL HAPPENED BETWEEN JANUARY 2015 AND OCTOBER 2015, MULTIPLE TIMES. THE EVENTS OCCURREL
IN ANCHORAGE, WASILLA, AND FAIRBANKS ALASKA.

B. What date and approximate time did the events giving rise to your claim(s) occur?

MULTIPLE EVENTS OF WIRETAPPING, AND EXTRACTING STORED DIGITAL INFORMATION OCCURED
BETWEEN JANUARY 2015 AND OCTOBER 2015. MULTIPLE WIRETAPPING AND ELECTRONIC DATA
RECOVERY WAS ILLEGALLY DONE BY THE STATE OF ALASKA DURING SAID DATES, AND EACH AND EVER’
WARRANT IN THE CRIMINAL CASE AGAINST ROCKY BURNS HAVE SOME CONNECTION TO SAID
WIRETAPPING AND DATA EXTRACTION.

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IV.

C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
i ? Who el. th A? .
Was anyone else involved? Who else saw what happene ) in January, 2015, a Anchorage Police Officer rea da

newspaper article about ROCKY BURNS and his business. Based upon that newspaper article, the Anchorage
Police Officer applied for and was GRANTED, a search warrant from a magistrate judge (Not a Superior Court
Judge, not signed by the Attorney General, and with no prior investigation efforts). The State of Alaska did not, does
not, and has not complied with Federal Guidelines and Statutes that pertain to electronic data storage and
communications. The State of Alaska has refused Due Process of evidentiary hearings into the matter.

Irreparable Injury

Explain why monetary damages at a later time would not adequately compensate you for the injuries you
sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation

could not be measured. The State of Alaska is seeking a very serious felony case against ROCKY BURNS. The State of
Alaska has pursued this case for almost 4 years now, and ROCKY BURNS has been defending himself Pro Se this whole time,
and no reimbursement for his time can be collected. The State of Alaska through choosing to go after ROCKY BURNS
criminally instead of completing the Cease and Desist process that was already started prior to the State indicting this
Defendant, has prevented this Defendant from operating what should be his legal business. There are multiple facets to this
case, and this criminal prosecution has been used as a trade restriction to prevent a business type in Alaska that was voted
upon by the Alaskan Voters in 2014. Itis irreparable harm to ROCKY BURNS life through incarceration, liberty through
incarceration, and pursuit of happiness through forcing his business into an illegal category without Due Process.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any

punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages. 4) The plaintiff askes for a temporary restraining order against the State of Alaska and it's offices
from prosecuting ROCKY BURNS until a question of law can be reached pertaining to Federal Wiretapping Statutes being
followed by Alaska State Law Enforcement as a whole or in part by the Anchorage Police Department. Trial is scheduled on this
issue in January 2019. 2) The plaintiff seeks representation from the 9th Cir Pro Bono Program to help with the filing of a Writ of
Mandamus on the question of law presented. A motion for appointment of counsel is included.
REASON THIS SHOULD BE GRANTED: The State of Alaska violates federal wiretapping laws as a policy and it is a public
interest for that policy to be corrected. Alaska State Law Enforcement are clearly breaking Federal mandates and it is a public
interest to ensure that the 4th Amendment protections of all Americans are strictly adhered to.

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VIL Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.
Date of signing: - 1240/2018

Signature of Plaintiff Ae LL.

at ee
we

Printed Name of Plaintiff ROCKY JAY BURN
B. For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

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